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           November 2, 2020




           BY EMAIL/ECF
           The Honorable Katherine Polk Failla
           United States District Judge
           Southern District of New York
           40 Foley Square
           New York, NY 10007
                                 United States v. Anilesh Ahuja, 18 Cr. 328 (KPF)
           Dear Judge Failla:
                           On behalf of Mr. Ahuja and Mr. Shor, we respectfully write in response to
           the government’s supplemental disclosures and letter to the Court dated October 30, 2020,
           which were prompted by questions the defendants had raised about the government’s
           September 24, 2020 production. Although the purpose of the September 24 production
           was to provide a “final response” and a “complete understanding,” July 24, 2020 Tr. at 15-
           16, the latest disclosures by the government show that its September 24 production was
           neither final nor complete.

                         Communications Regarding the FOIA Request

                          On October 30, 2020, the government disclosed for the first time an email
           that appears to include the contents of a May 27, 2020 chat message between the U.S.
           Attorney’s Office’s FOIA Specialist, Darian Hodge, and Theodore Smith, a FOIA attorney
           at EOUSA. The chat included the following exchange between Mr. Hodge and Mr. Smith:
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       Hodge: This was what I was given so far. I am reaching out to AUSA Naftalis.

       Smith: Hold off on reaching out to the AUSA for a bit. I opened one of the files
       in the Zip you just sent me, and it appears to be an edited version of the
       allocution. Again, I won’t release that and will withhold it under b5. But if I can
       find the final version of the allocution, I’ll release it along with the plea
       agreement. And if the files in the Zip are all that there is, I’ll take my page count
       from those.

       Hodge: That is all they gave me. Let me know if you want to reach out to the
       AUSA. Looking forward to this one going away.

       Smith: Me too. And I am hoping I can make it go away today.

       Hodge: fingers crossed.

(Exhibit A (emphases added).) This exchange raises more questions than it answers and
reinforces the need for additional document discovery and sworn testimony.

                 First, the government has provided no explanation for why this document
was not produced until now. Mr. Hodge was one of the custodians whose communications
were purportedly searched as part of the government’s September 24 production, and the
newly produced exchange expressly discusses an “edited version of the allocution” and
includes at least one of the search terms the government expressly agreed to use for its
September 24 production. Specifically, on August 3, 2020, after a back-and-forth between
the parties about the particulars of the government’s searches, the government confirmed
that, at the defendants’ request, it would “add the search terms Majidi, Rosenberg, Naftalis,
and Redline with respect to John [McEnany] and Darian [Hodge’s] emails.” The May 27,
2020 exchange between Mr. Hodge and Mr. Smith includes the term “Naftalis” and thus
would have been responsive to the agreed-upon search terms.

                When the government made its production on September 24, however, its
cover letter identified different (and more narrow) search terms it had used for Mr. Hodge’s
emails, and the search terms no longer included “Naftalis.” We asked the government to
explain why it had unilaterally changed the search terms; the government declined to
answer and still has not provided an explanation.

              Second, the May 27, 2020 exchange makes clear that there were additional
communications between Mr. Hodge and Mr. Smith that have not been produced. Indeed,
the exchange begins with Mr. Hodge asking, “Does that look better?” That question would
make no sense if it were their first communication on this topic. And it is very unlikely
that Mr. Hodge and Mr. Smith would have been discussing their desire that a seemingly
routine FOIA request “go away” if they had not discussed it previously. The government
also has produced no communications or other documents reflecting how Mr. Hodge
received the materials that he passed along to EOUSA.



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                Third, Mr. Hodge and Mr. Smith’s desire to make the FOIA request “go
away” itself raises new questions about what they understood, and may have been told by
members of the trial team, about the significance of the “edited version of the [Majidi]
allocution,” and the motivation for withholding that document from the FOIA
production. As the Court is aware, the FOIA production did not include the version of the
Majidi allocution with the government’s edits. The government previously represented to
the Court that “AUSA Naftalis did not exercise . . . any influence over what EOUSA
produced” (July 16 Letter at 9), and that he had not told his fellow trial team members that
he had found the document during the FOIA review (June 19 Letter at 3).

               Fourth, the government’s explanation for Mr. Hodge’s name appearing on
the versions of a document produced by EOUSA in response to the FOIA request, but not
on the versions that AUSA Naftalis provided to Mr. McEnany, seems to be incomplete or
inaccurate. In its October 30 letter, the government asserts that the header with Mr.
Hodge’s name in it “simply reflect[s] how the documents were processed” because “[w]hen
Mr. Hodge processed the documents before sending them to EOUSA, he printed the emails
to pdf format.” (October 30 Letter at 1–2.) But, if the header was added when Mr. Hodge
processed the documents to send to EOUSA, it should appear on all documents produced
by EOUSA, and it does not. Rather, Mr. Hodge’s name appeared in the EOUSA production
only on the cover email from AUSA Naftalis to AUSAs Griswold and Nicholas that
attached the edited allocution (which itself was withheld). Mr. Hodge’s name did not
appear on the other eight documents EOUSA produced.

               Documents Withheld from the September 24 Production

               On October 30, the government also revealed that it withheld from its
September 24 production (without notice to the Court or defense) more than 150 emails
and email attachments based on a claim of attorney work product and/or deliberative
process privilege. The government’s six-page cover letter on September 24 describing its
searches and resulting production did not disclose that any documents had been
withheld. In our October 1 letter to the government, we pointed out that the government’s
cover letter was silent on “whether any potentially relevant documents were withheld based
on a claim of work product or other privilege,” and we requested “a log identifying the
basis for withholding such documents” if any were indeed withheld. (October 1 Letter at
5.) The government declined to respond.

               The government’s privilege log produced on October 30 includes several
email exchanges between members of the trial team and counsel for cooperating witness
Amin Majidi that were withheld based on claims of attorney work product and/or
deliberative process privilege. The government’s communications with a third-party,
Majidi’s counsel, are not protected by the deliberative process privilege. It is also difficult
to see how those communications could constitute attorney work product and, even if there
were a colorable claim of work product, disclosure would be warranted given the
substantial need for the information in the circumstances of this case.




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                Moreover, the government’s log lacks the information required to
meaningfully evaluate its other claims of privilege and/or work product. For the “subject”
of each withheld document, for example, the government merely recites the identical
generic description “Issues Reflected in 6/19/20 Gov’t Ltr to Court.” That does not provide
a sufficient description of the subject matter of the withheld document, and the government
has not even included the actual “subject” line of the withheld documents. For dozens of
documents, the only description provided is “email attachment,” with no information about
the type of document, the author, or the date; instead, the government appears to have
logged the date and time of the parent email containing the attachments, as opposed to the
individual attachments it withheld.

               In light of the issues described above, we respectfully request that the Court
direct the government to: (i) identify any U.S. Attorney’s Office personnel who were
aware of the May 27, 2020 exchange between Mr. Hodge and Mr. Smith on or before
September 24, 2020, and when they first became aware of it; (ii) explain why the
government excluded from the search of Mr. Hodge’s communications search terms that
had been expressly agreed to; (iii) produce all of Mr. Hodge’s communications relating to
the FOIA request in this case; (iv) produce all communications with Majidi’s counsel that
were withheld based on a claim of privilege or work product; and (v) supplement its
privilege log by providing additional detail about the documents withheld.

                The Court denied the defendants’ earlier discovery requests without
prejudice and permitted the government to construct searches that would generate a full
and complete documentary record. But it is now clear that a significant and clearly relevant
exchange about withholding the Majidi allocution was omitted from what was supposed to
be the government’s “final” production. The government’s search methods have
repeatedly proven ineffective and failed to capture what they should. It is the government’s
obligation to find and produce these documents, not the defendants’ or the Court’s
obligation to tell the government how to search. Accordingly, we also respectfully renew
our prior discovery requests set forth in the defendants’ June 19, 2020 and July 6, 2020
letters to the Court (ECF 366, 385).

                                        Respectfully submitted,



                                        Richard C. Tarlowe
                                        Roberto Finzi
cc:     Counsel of Record




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